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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                   FORT WORTH DIVISION

    M.F., et al.,                                   §
                                                    §
         Plaintiffs,                                §
                                                    §
    v.                                              §   Civil Action No. 4:23-cv-01102-O
                                                    §
    CARROLL INDEPENDENT SCHOOL                      §
    DISTRICT, et al.,                               §
                                                    §
         Defendants.                                §

                                                ORDER

            Before the Court is the Partially Unopposed Motion to Modify Scheduling Order and

Request for Expedited Ruling (ECF No. 63), filed February 12, 2024 by Defendant City of

Southlake and Defendant Adrian Wormley (the “City Defendants”). The Motion seeks a

modification of the deadlines in the Court’s November 28, 2023 Scheduling Order (ECF No. 40)

to allow the City Defendants “sufficient time to adequately investigate and respond to the claims

in this matter.” ECF No. 63 at 10. Part of the modification request is due to Defendant Wormley’s

intention “to assert his qualified immunity defense, which this Court must address before discovery

may proceed.” Id. at 1. In addition to deadline modifications, the Motion also seeks to alter the

unlimited settlement authority requirement to a modified version that allows for after-the-fact

approval of a tentative settlement by the appropriate governing board or entity. Id. at 10. Finally,

the Motion seeks access to various sealed docket entries. Id. at 3.

            The Motion’s certificate of conference states that Plaintiffs are unopposed to the relief

requested (except as to the unsealing request).1 Defendants Carroll Independent School District,


1
 The City Defendants note that they “did not expressly cover this request to access sealed items . . . by
written correspondence sent February 9, 2024.” Defs.’ Partially Unopposed Mot. to Modify Scheduling Or.
& Request for Expedited Ruling 3 n.1, ECF No. 63.
                                                    1
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Whitney Wheeler, and Amy Ray (the “School Defendants”) have not yet responded to the

conference request. Id. at 11. Accordingly, the Court ORDERS the School Defendants to file a

responsive notice by February 15, 2024 indicating whether they are opposed to any part of the

Motion. The Court further ORDERS Plaintiffs to submit a responsive notice confirming their

position on the unsealing request or any other part of the Motion by February 15, 2024.

       SO ORDERED this 13th day of February, 2024.


                                               _____________________________________
                                               Reed O’Connor
                                               UNITED STATES DISTRICT JUDGE




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